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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Southern Division)

In re:                                                 )
                                                       )   Chapter 11
MATTRESS DISCOUNTERS                                   )
  CORPORATION                                          )   Case Nos. 08-21642-TJC
     and                                               )   and 08-21644-TJC
MATTRESS DISCOUNTERS                                   )
  CORPORATION EAST,                                    )   (Jointly Administered Under
                                                       )   Case No. 08-21642-TJC)
                                Debtors.               )
                                                       )


              MOTION OF DEBTORS FOR ORDER (I) APPROVING SALE
          OF MID-ATLANTIC ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
           ENCUMBRANCES AND OTHER INTERESTS, (II) AUTHORIZING
         ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
            UNEXPIRED LEASES, AND (III) GRANTING RELATED RELIEF

         Mattress Discounters Corporation (“Mattress Discounters”) and Mattress Discounters

Corporation East (“MDCE”), the debtors and debtors in possession herein (collectively,

the “Debtors”), by their undersigned counsel, hereby file this motion (the “Motion”) for entry of

an order (i) approving the sale of substantially all of the assets relating to the Debtors’ business

operations in the Mid-Atlantic region free and clear of liens, claims, encumbrances and other

interests, (ii) authorizing the assumption and assignment of certain executory contracts and

unexpired leases, and (iii) granting related relief.

              Jurisdiction and Background Regarding Bankruptcy Proceedings

         1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409.
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         2.    On September 10, 2008 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(the “Bankruptcy Code”).

         3.    The Debtors remain in possession of their assets and continue to manage their

businesses as debtors in possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

                               The Debtors’ Business Operations

         4.    The Debtors are a leading retailer of mattresses and other bedding products. As

of the Petition Date, the Debtors operated approximately 140 retail stores located in seven states,

with a concentration in the Mid-Atlantic region (approximately 90 stores in Delaware, the

District of Columbia, Maryland and Virginia) and the New England region (approximately

50 stores in Massachusetts, New Hampshire and Rhode Island). The Debtors also operate a

factory located in Maryland at which the Debtors manufacture mattresses under the private label

Factory Direct Comfort Source® for sale in their retail stores. The Debtors have been in

business for thirty years, and their jingle “Have a good night’s sleep on us” is widely recognized

in the markets in which they operate.

         5.    As of the Petition Date, the Debtors employed approximately 475 full-time and

part-time employees, with approximately 400 individuals employed in various aspects of the

retail operations, approximately 30 individuals employed in various aspects of the manufacturing

operations and approximately 45 individuals employed in the Debtor’s corporate headquarters

located in Upper Marlboro, Maryland.

         6.    In 2007, the Debtors had gross revenue of approximately $122 million, earnings

before interest, taxes, depreciation and amortization of approximately $2 million and a net loss of

approximately $3 million. For the first two quarters of 2008, the Debtors had gross revenue of



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approximately $49 million, earnings before interest, taxes, depreciation and amortization of

approximately negative $5 million and a net loss of approximately $8 million.

         7.    All of the Debtors’ retail stores are subject to leases. In addition, the Debtors

lease their Maryland headquarters and warehouse facility, their Maryland factory facility and a

Massachusetts warehouse facility.

         8.    Substantially all of the Debtors’ business operations are conducted by, and

substantially all of their assets are held by, Mattress Discounters, a Maryland corporation.

MDCE, a Delaware corporation, is a non-operating holding company, and substantially all its

assets consist of its ownership of the stock of Mattress Discounters.

                                 Events Leading to Bankruptcy

         9.    Like other segments of the retail industry, the retail mattress and bedding industry

is experiencing a downturn. As a result of the industry downturn, combined with increasing

competition and a weakened overall economy, the Debtors have experienced a significant

decline in sales. 2008, in particular, has been difficult for the Debtors, as in each month of 2008

the Debtors have experienced a decline in year-over-year sales as compared to 2007. The

financial performance of the Debtors’ stores in the New England region has been particularly

weak. In 2007, the Debtors’ New England region suffered an aggregate loss of approximately

$1.5 million. As of August 2008 (the month prior to the bankruptcy filings), the Debtors’ New

England region had suffered an aggregate year-to-date loss of approximately $2.9 million.

         10.   Given their financial performance, the Debtors were not able to stay current on

their obligations to vendors and certain landlords. In addition, prior to the bankruptcy filings, the

Debtors defaulted on certain of their covenant obligations to their secured lender.




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         11.      In response to these challenging conditions, the Debtors sought Chapter 11

protection for the purpose of effectuating a turnaround plan. The turnaround plan originally

included the prompt exit from the New England region (which has been accomplished) and

targeted reductions of the Debtors’ retail operations in the Mid-Atlantic region. In recent weeks,

however, it has become apparent that the Debtors will not have the ability to obtain exit

financing necessary for a plan of reorganization. Accordingly, the Debtors have aggressively

pursued a prompt sale of substantially all of their assets.

                                The Sale of the Mid-Atlantic Assets

         12.      The Debtors have been pursuing a sale of their assets for approximately two

years.       During this period of time, the Debtors have conducted detailed negotiations with

numerous potential purchasers and have on one occasion fully documented a sale transaction

only to have it collapse prior to settlement.

         13.      In the weeks leading to the Petition Date, and continuing during the post-petition

period, the Debtors’ pursuit of a sale has intensified. The Debtors’ objective has been to identify

a suitable stalking horse purchaser such that the Debtors will be able to establish a floor for

competitive bidding and have a potential to realize enterprise value. The process has been

enormously challenging.

         14.      As the court is aware, the Debtors’ Chapter 11 cases have proceeded against the

backdrop of a global financial crisis that has created unprecedented difficulties for retailers.

Given the market conditions, very few potential purchasers are willing at this time to even

consider significant investment in a financially distressed retail business. Other factors have also

made the sale process challenging. Among other things, the Debtors’ sales have significantly

deteriorated during the post-petition period, and the Debtors have dealt with continuing liquidity



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issues because vendors have refused to provide financing terms. Furthermore, the Debtors’

post-petition lender has imposed strict financing conditions and has required that the bankruptcy

cases be conducted on an expedited track.

         15.       Despite these challenges, the Debtors have been able to conclude negotiations for

a sale of their Mid-Atlantic assets. In particular, the Debtors have entered into an Asset Purchase

Agreement dated November 7, 2008 (the “Purchase Agreement”) with RoomStore, Inc., on

behalf of an entity to be formed and designated by RoomStore, Inc. (the “Purchaser”), pursuant

to which the Purchaser has agreed to purchase substantially all of the assets relating to the

Debtors’ business operations in the Mid-Atlantic region (as described in detail in the Purchase

Agreement, the “Assets”). A copy of the Purchase Agreement is attached hereto as Exhibit 1.

         16.       The Purchase Agreement is the result of extensive arm’s length negotiations with

the Purchaser that were conducted over a period of more than two months. Below is a brief

summary of select terms of the Purchase Agreement:



                        Term                                 Brief Summary

             Assets to be Sold            “Assets” is defined to include substantially all of the
                                          Debtors’ assets used in connection with their business in
                                          the Mid-Atlantic region, including inventory, contracts,
                                          leases, intellectual property and all tangible and
                                          intangible personal property.

             Excluded Assets              “Excluded Assets” is defined to include the Debtors’ cash
                                          and cash equivalents, accounts receivable, avoidance
                                          actions (except avoidance actions against non-debtor
                                          parties to the contracts and leases assigned to the
                                          Purchaser), tax refunds and security deposits (except
                                          those under leases to be transferred to the Purchaser).

             “As Is” Sale                 The assets are to be conveyed to and accepted by
                                          Purchaser on an “as is,” “where is” and “with all faults”
                                          basis, free of any warranties or representations
                                          whatsoever, whether express or implied, except as
                                          expressly set forth in the Purchase Agreement.




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             Consideration                The purchaser price consists of: (i) the assumption by the
                                          Purchaser of certain liabilities of the Debtors (including
                                          the obligation to pay an amount not to exceed $500,000
                                          for cure costs under the leases to be assumed and
                                          assigned to the Purchaser); and (ii) $4 million, subject to
                                          various adjustments (including a dollar for dollar
                                          adjustment if the Debtors’ inventory has a value of less
                                          than $4 million as of the date of closing). Five percent
                                          (5%) of the cash portion of the purchaser price is to be
                                          paid as a deposit; eighty percent (80%) of the cash
                                          portion of the purchase price is to be paid at closing; and
                                          the remaining fifteen percent (15%) of the cash portion of
                                          the purchase price is to be paid within 45 days of closing.

             Assumption/Assignment        The Debtors shall assume and assign to the Purchaser the
             of Designated Contracts      “Designated Contracts” and the “Designated Leases”
             and Designated Leases        identified in schedules attached to the Purchase
                                          Agreement. The Purchase has the right to “de-designate”
                                          any of the “Designated Contracts” and “Designated
                                          Leases” at any time prior to the closing. The Purchaser
                                          has agreed to pay an amount not to exceed $500,000 for
                                          cure costs under the Designated Leases. To the extent
                                          cure costs under the Designated Leases exceed $500,000,
                                          the amount in excess of $500,000 shall be paid by the
                                          Debtors. The Debtors, however, shall have no obligation
                                          to pay any cure costs under the Designated Contracts.

             Break-Up Fee                 The Purchaser shall be entitled to a Break-Up Fee in the
                                          amount of $250,000 upon the occurrence of certain
                                          conditions set forth in the Purchase Agreement, including
                                          in the event the Debtors sell the Assets to a competing
                                          bidder or in the event the Debtors pursue a plan
                                          alternative as set forth in Section 6.2 of the Purchase
                                          Agreement.



         17.      The foregoing is only a brief summary. The terms of the sale of the Assets are set

forth in detail in the attached Purchase Agreement. In the event of any inconsistency between

the above summary and the Purchase Agreement, the terms of the Purchase Agreement

shall control. Interested parties should review the Purchase Agreement for a complete and

accurate understanding of the terms of the sale of the Assets.




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                                        Relief Requested

         18.   The Debtors believe that the sale of the Assets is in the best interests of their

estates and creditors. Accordingly, by this Motion, the Debtors seek entry of an order, pursuant

to Sections 105, 363 and 365 of the Bankruptcy Code and Rules 6004 and 6006 of the Federal

Rules of Bankruptcy Procedure, (i) approving the sale of the Assets free and clear of liens,

claims, encumbrances and other interests, (ii) authorizing the assumption and assignment of the

Designated Contracts and Designated Leases, and (iii) granting related relief.

         19.   The Debtors wish to conclude the sale of the Assets as expeditiously as possible.

At the same time, however, the Debtors wish to ensure that all financially qualified interested

parties are provided a reasonable opportunity to submit competing bids so the estate receives the

maximum return on the sale of the Assets.              Accordingly, by separate motion filed

contemporaneously herewith, the Debtors are seeking entry of an order approving procedures for

the submission of higher and better offers.


                                         Basis for Relief

         A.    The sale of the Assets is in the best interests of the Debtors’ estates.

         20.   Section 363(b) of the Bankruptcy Code requires court approval for the use, sale or

lease of a debtor’s assets outside the ordinary course of business. In particular, Section 363(b)(1)

provides that the debtor, “after notice and a hearing, may use, sell, or lease other than in the

ordinary course of business, property of the estate[.]” 11 U.S.C. § 363(b)(1). A court should

approve the sale of assets outside of the ordinary course of business if the proposed sale is

supported by the debtor’s exercise of reasonable business judgment. See, e.g., In re Martin, 91

F.3d 389, 395 (3d Cir. 1996) (citing In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991));

Committee of Equity Security Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070


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(2d Cir. 1983). See also U.S. ex rel. Rahman v. Oncology Assocs., P.C., 269 B.R. 139, 161 (D.

Md. 2001) (recognizing that “[t]he standard to be applied by a court in determining whether or

not to approve the disposition of property is whether the trustee exercised sound business

judgment”) (citing Lionel Corp.); In re Naron & Wagner, Chartered, 88 B.R. 85, 87-88 (Bankr.

D. Md. 1988) (citing Lionel Corp.).

         21.   Absent a significant infusion of liquidity, the Debtors cannot continue to operate

their business as a going concern. Given their circumstances, a sale of the Assets is the best

available option. As indicated above, the Debtors aggressively marketed the assets over an

extended period of time during which they conducted extensive discussions and negotiations

with numerous interested parties. The sale proposed herein represents the highest and best offer

the Debtors have received.

         22.   The Debtors’ estates will receive significant benefits from the sale of the Assets,

including the receipt of cash and the elimination of rejection damage claims. In addition, the

Purchase Agreement establishes a floor for the purchase price and creates the possibility that a

higher and better offer will be received through the bidding and auction process. Given the

circumstances, the sale of the Assets is in the best interests of the estates and should be approved.

         B.    The Court should approve the sale of the Assets free and clear of liens,
               claims, encumbrances and other interests.

         23.   Pursuant to Section 363(f) of the Bankruptcy Code, a debtor may sell property

“free and clear of any interest in such property of an entity other than the estate” if any of the

following conditions is satisfied:

               (a)     applicable nonbankruptcy law permits sale of such property free
                       and clear of such interest;

               (b)     such entity [holding an interest] consents;



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                (c)     such interest is a lien and the price at which such property is to be
                        sold is greater than the aggregate value of all liens on the property;

                (d)     such interest is in bona fide dispute; or

                (e)     such entity could be compelled, in a legal or equitable proceeding,
                        to accept a money satisfaction of such interest.

11 U.S.C. § 363(f). See WBQ Partnership v. Virginia Dep’t of Medical Assistance Services

(In re WBQ Partnership), 189 B.R. 97, 101 (Bankr. E.D. Va. 1995) (noting that Section 363(f) is

written in the disjunctive and requires that only one of the conditions present be met). See also

In re P.K.R. Convalescent Centers., Inc., 189 B.R. 90, 93-94 (Bankr. E.D. Va. 1995) (Section

363 addresses sales free and clear of any interest, not just liens). Furthermore, Section 105(a) of

the Bankruptcy Code, which empowers bankruptcy courts to enter “any order, process, or

judgment that is necessary or appropriate” to carry out the provisions of the Bankruptcy Code,

permits a court to authorize the sale of a debtor’s assets free and clear of any liens, claims,

encumbrances and other interests. See, e.g., In re White Motor Credit Corp., 75 B.R. 944, 948-

49 (Bankr. N.D. Ohio 1987).

         24.    Here, the Debtors believe there are no liens on the Assets other than any lien in

favor of the Debtors’ pre-petition secured lenders, which have consented to the sale of the

Assets. Accordingly, the requirements of Section 363(f) will be satisfied, and the Court should

approve the sale of the Assets free and clear of all liens claims, encumbrances and other interests,

and any liens shall attach only to the proceeds of the sale in the order of their priorities, subject to

the rights and defenses, if any, of the Debtors and other parties in interest with respect thereto.




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         C.    The assumption and assignment of the Designated Contracts and the
               Designated Leases is a sound exercise of the Debtors’ business
               judgment.

         25.   As part of the relief requested herein, the Debtors seek authority to assume and

assign to the Purchaser the Designated Contracts and the Designated Leases, which assumption

and assignment shall be effective only upon (a) the closing of the sale of the Assets to the

Purchaser and (b) the payment of all amounts necessary to cure any defaults under the

Designated Contracts and the Designated Leases (or, in the case of an unresolved objection to a

cure amount, the escrowing of an amount equal to the cure amount asserted by the objecting

party or such lower amount as may be fixed by the Court).

         26.   The Debtors are requesting that the order granting this Motion provide that, upon

the assumption and assignment of the Designated Contracts and the Designated Leases to the

Purchaser and the payment of all amounts necessary to cure any defaults under the Leases, the

Designated Contracts and the Designated Leases shall be valid, binding and enforceable in

accordance with their respective terms, excluding and notwithstanding any provision in any of

the Designated Contracts and the Designated Leases that may in any way prohibit, restrict or

condition their assignment to the Purchaser. Without limiting the generality of the foregoing,

and notwithstanding any provision to the contrary in any of the Designated Leases and/or in any

statute or governing law, the Debtors request that the Purchaser be permitted to (a) operate the

assigned leased premises consistent with the Purchaser’s use as a retail store, (b) operate the

assigned leased premises under the trade name of its choosing, (c) perform non-structural or

minor structural interior alterations and remodeling of the assigned leased premises without

further consent of any person or party to the extent necessary to conform the layout of the

premises to that of a typical retail store consistent with the Purchaser’s use, (d) erect its




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customary and typical building façade signage (it being understood that the height of the channel

letters of such signage shall in no event be less than the height of the channel letters of the

Debtors’ current signage) and insert its customary and typical signage on any shopping center

multi-panel pylon sign in place of any such sign of the Debtors (it being understood that the size

of the space on the pylon for such signage shall be equal to the size of the space allocated to the

Debtors’ current signage, if any), and (e) remain “dark” with respect to the assigned leased

premises for up to an additional one hundred twenty (120) days after assignment to complete

such alterations and remodeling as the Purchaser deems necessary or appropriate.

         27.   The Debtors are also requesting that the order granting this Motion require that

the non-debtor parties to the Designated Leases cooperate and expeditiously execute and deliver,

upon the reasonable requests of the Purchaser, and not charge the Purchaser for, any instruments,

applications, consents or other documents that may be required by any public or quasi-public

authority or other party or entity, for the purpose of obtaining any permits, approvals or other

necessary documents required for alteration, installation of signage, opening and/or operating of

the assigned leased premises.

         28.   Pursuant to Section 365(a) of the Bankruptcy Code, a debtor, “subject to the

court’s approval, may assume or reject an executory contract or unexpired lease.” 11 U.S.C.

§ 365(a). The assumption or rejection of an executory contract or unexpired lease is subject to

judicial review under the business judgment standard. If a debtor’s business judgment has been

reasonably exercised, the court should approve the proposed assumption or rejection. See, e.g.,

NLRB v. Bildisco and Bildisco, 465 U.S. 513, 523 (1984).

         29.   A debtor’s decision to assume or reject an executory contract or unexpired lease

should be approved “except upon a finding of bad faith or gross abuse of the [debtor’s] business




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discretion.” Lubrizol Enterprises, Inc. v. Richmond Metal Finishers, Inc., 756 F.2d 1043, 1047

(4th Cir. 1985), cert. denied, 475 U.S. 1057 (1986). This standard is very “lenient” and courts

should routinely defer to the debtor’s decision. In re Dunes Hotel Assocs., 194 B.R. 967, 988

(Bankr. D.S.C. 1995). See also In re Federal Mogul Global, Inc., 293 B.R. 124, 126 (D. Del.

2003) (holding that the business judgment standard mandates that the debtor’s decision to

assume or reject a lease be approved unless the decision is the product of bad faith, whim or

caprice). “More exacting scrutiny would slow the administration of the debtor’s estate and

increase its cost, interfere with the Bankruptcy Code’s provision for private control of

administration of the estate, and threaten the court’s ability to control the case impartially.”

Richmond Leasing v. Capital Bank, N.A., 762 F.2d. 1303, 1311 (5th Cir. 1985).

         30.   Here, the Designated Contracts and the Designated Leases are a vital component

of the Assets and, as a result, the reasons that support the sale of the Assets also support the

assumption and assignment of the Designated Contracts and the Designated Leases. In short, the

Debtors have exercised sound business judgment in deciding to assume and assign the

Designated Contracts and the Designated Leases.

         31.   The technical requirements for assumption and assignment of the Designated

Contracts and the Designated Leases will be satisfied. In particular, all defaults under the

Designated Contracts and the Designated Leases will be cured as required by Section 365 of the

Bankruptcy Code. In addition, any bidder submitting a competing offer for the Assets will be

required to submit information to show that it has the financial capability and other qualifications

necessary to satisfy any and all obligations it will incur in connection with the Designated

Contracts and the Designated Leases and thereby provide the non-debtor parties with adequate

assurance of future performance as required by Section 365 of the Bankruptcy Code.




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         32.    To the extent any of the Designated Contracts or the Designated Leases contain

provisions that purport to limit assignment, the Debtors request that the assumption and

assignment of the Designated Contracts and the Designated Leases be permitted without regard

to such provisions. The Bankruptcy Code is designed to encourage the assignment of executory

contracts and unexpired leases. For example, Section 365(b)(2) provides that the assumption and

assignment of an executory contract or unexpired lease may be achieved without the need for

curing any default therein triggered by the insolvency of the debtor, the commencement of

bankruptcy proceedings, the appointment of a trustee or a penalty provision triggered by the

debtor’s failure to perform non-monetary provisions. See 11 U.S.C. § 365(b)(2)(A)-(D). In

addition, Section 365(f) provides that “notwithstanding a provision in an executory contract or

unexpired lease of the debtor, or in applicable law, that prohibits, restricts, or conditions the

assignment of such contract or lease, the trustee may assign such contract or lease under

paragraph (2)” of Section 365(f). 11 U.S.C. § 365(f). See also In re Lil’ Things, Inc., 220 B.R.

583, 591 (N.D. Tex. 1998) (Section 365(f)(1) “states the general rule that a trustee or debtor in

possession may assign an executory contract notwithstanding ‘applicable law’ that prohibits

assignment”).

         33.    Finally, pursuant to Section 365(k) of the Bankruptcy Code, the Debtors request

that they be relieved from any further liability with respect to the Designated Contracts and the

Designated Leases after assumption and assignment to the ultimate purchaser. See 11 U.S.C.

§ 365(k).

         D.     The Purchaser is entitled to the protections of a “good faith purchaser”
                under Section 363(m) of the Bankruptcy Code.

         34.    The Debtors request that the Court find that the Purchaser is entitled to the

protections of a “good faith purchaser” under Section 363(m) of the Bankruptcy Code. Although


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the Bankruptcy Code does not define a “good faith purchaser,” the Fourth Circuit, construing

Section 363(m), has indicated that the phrase encompasses a purchaser who buys for value, in

good faith and without notice of adverse claims. Willemain v. Kivitz, 764 F.2d 1019, 1023-24

(4th Cir. 1985). To constitute lack of good faith, a party’s conduct in connection with the sale

must usually amount to “fraud, collusion between the purchaser and other bidders or the trustee

or an attempt to take grossly unfair advantage of other bidders.” Willemain, 764 F.2d at 1024

(citing In re Rock Industrial Machine Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)). See also In

re XACT Telesolutions, Inc., 2006 U.S. Dist. LEXIS 621, at *8 (D. Md., Jan. 10, 2006) (holding

that, absent fraud, collusion or an attempt to take grossly unfair advantage of other bidders, the

court will find “good faith” under Section 363 (m)).

         35.   Here, the Debtors and the Purchaser negotiated the terms of the Purchase

Agreement at arm’s-length and in good faith. The Purchaser is not related to the Debtors, and

they do not share corporate officers or directors. There is absolutely no evidence of fraud or

collusion. Accordingly, the Debtors submit that the Purchaser should be afforded the protections

of a good faith purchaser provided by Section 363(m) of the Bankruptcy Code. If the Purchaser

is not the ultimate purchaser because the Debtors obtain approval of a higher and better offer, the

Debtors will not support a sale to any other purchaser whose good faith under Section 363(m)

can reasonably be doubted.

         E.    Waiver of the stay imposed under Bankruptcy Rules 6004(h) and
               6006(d) is warranted under the circumstances.

         36.   Finally, the Debtors request a waiver of the 10-day stay imposed under Rules

6004(h) and 6006(d) of the Federal Rules of Bankruptcy Procedure. The sale of the Assets

should be concluded as soon as possible so the Debtors and their estates do not incur further




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administrative rent obligations. Given the circumstances, there is ample cause for the Court to

waive the 10-day stay imposed by Bankruptcy Rules 6004(h) and 6006(d).

                    Statement Pursuant to Local Bankruptcy Rule 9013-2

         37.    Pursuant to Local Bankruptcy Rule 9013-2, the Debtors, in lieu of submitting a

memorandum in support of this Motion, will rely solely upon the grounds and authorities set

forth herein.

                                        Notice of Motion

         38.    Notice of this Motion has been provided to the following: (a) counsel for the

Debtors’ pre-petition and post-petition secured lender; (b) counsel for the Official Committee of

Unsecured Creditors; (c) the Debtors’ 30 largest unsecured creditors; (d) the Office of the United

States Trustee; (e) all counsel and parties having filed written requests for notice in these cases;

(f) the non-debtor parties under the Designated Contracts and Designated Leases; (g) all parties,

if any, known to have asserted any lien, claim or encumbrance on or against any of the Assets;

(h) the Internal Revenue Service; and (i) the Securities and Exchange Commission. The Debtors

submit that such notice is appropriate under the circumstances and that no other or further notice

need be provided.




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         WHEREFORE, the Debtors request that the Court:

                 (a)   Enter an order, substantially in the form submitted herewith, granting the

relief requested in this Motion; and

                 (b)   Grant such other and further relief as is just and appropriate under the

circumstances.

                                                          Respectfully submitted,

DATE: November 10, 2008                                    /s/ C. Kevin Kobbe
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